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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

LESTER LEE,
PLAINTIFF

Vv,
BROOKSIDE PARK CONDOMINIUM, Case No. 8:24-ev-01205-TJS
INC., METROPOLIS (aka MCM, INC,),
RAMMY AZOULAY AND LAMONT
SAVOY

DEFENDANTS

AFFIDAVIT OF ROBERT HADDAD

—

My name is Robert Haddad. I am over the age of 2]. lam making this affidavit on the
basis of my personal knowledge and based on information reported to me by Brookside
employees and management company employees who have a duty to report this
information to me.

2. 1 became president of Brookside in July 2023.

3, Since the time I became president, there have been humerous complaints about Set.
Lester Lee’s pit bulls. Sgt. Lees dogs have posed a very serious health and safety
problem at Brookside since I became president,

4. Sgt. Lees dogs have caused the entire building 564 to wreak of urine from top to bottom
(4 floors) which I have smelled myself.

5. Sgt. Lees dogs caused destruction and discoloration of the balconies below him,

especially that of Latrenda Hicks because of the unrelenting rain of feces and urine

M"4C346\( Atty Folder-ADD) Brookside Park Condo-Mctropolis aka MCM-R. Azoulay\Answer,02 docx EXHIBIT

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coming from Sgt. Lees’ unit. We also received a complaint from Ricky Blanco barking,
3 pit bills and Sgt. Lees’ pit bulls off leash. See exhibit 7.

Brookside learned that one of Sgt. Lees dogs killed another Brookside resident dog.
The neighbors are scared of the man and his dog(s).

I have reviewed the exhibits to the motion for summary judgment which reveal only a
small portion of the many complaints we have had regarding Sgt. Lees pit bull dogs,
Brookside denied the requested accommodation by Sgt. Lee for the reasons stated in
Exhibit 11, primarily due to concern for residents’ safety and health.

The Rules of Brookside prohibit pit bull dogs. My understanding is that Prince
George’s County ordinances prohibit pit bull dogs.

Sgt. Lee never registered any pit bulls with Brookside and he was required to do so, He
would not permit Brookside to inspect his unit.

It was the understanding of Brookside that Sgt. Lee was breeding and selling pit bulls
from his unit. We were told that by other residents who he offered to sell them to.
Brookside has received numerous complaints from Latrenda Hicks, who resided below
Sgt. Lee. She complained of feces and urine on her balcony, and urine and water
leaking through her ceiling. Her ceiling collapsed from water from Sgt. Lee’s unit.
Exhibit 6 contains emails she sent to Brookside over the years,

Several violation letters were sent to Mr. Lee and the owner of the unit Mr. Savoy about
feces and urination from the pit bulls, but the problems were never rectified by Set.
Lee.

Brookside wrote to Ms. Savoy and advised him that his tenant Sgt. Lee had to get rid

of the pit bulls.

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16. Brookside denied Sgt. Lee’s request for an accommodation for the reasons stated in the

letter of July 20, 2024, attached as exhibit 11.

I hereby affirm and swear that the foregoing is true and correct to the best of my knowledge,

information and belief,

Robert Haddad, President Brookside

Dated: “3-[2-202¢

